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EXHIBIT “A”

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
)
In re: ) Chapter 11
BCause Mining LLC, Judge Janet S. Baer
Debtor/Debtor-in-Possession, Case No. 19-10562
)

STIPULATION BETWEEN THE DEBTOR AND VIRGINIA ELECTRIC
AND POWER COMPANY d/b/a DOMINION ENERGY VIRGINIA PARTIALLY
RESOLVING THE OBJECTION OF VIRGINIA ELECTRIC AND POWER COMPANY
d/b/a DOMINION ENERGY VIRGINIA TO THE MOTION TO PROVIDE ADEQUATE
ASSURANCE OF PAYMENT FOR CONTINUED UTILITY SERVICE
{Relates to Docket Nas. 4 and 7)

The Debtor and Virginia Electric and Power Company d/b/a Dominion Energy Virginia
(*Dominion”)(the Debtor and Dominion collectively, the Parties”), as reflected by the signatures
of their respective undersigned counsel below, hereby agree and stipulate to partially resolve the
Objection of Virginia Electric and Power Company d/b/a Dominion Energy Virginia To the
Motion to Provide Adequate Assurance of Payment For Continued Utility Service (the
“Objection”) (Docket No. 7), as follows:

Recitals

1. On April 11, 2019 (the “Petition Date”), the Debtor commenced its case under
Chapter 1] of title 1] of the Untied States Code (the “Bankruptcy Code’) that is now pending
with this Court. The Debtor continues to operate its business and manage its properties as a

debtor in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

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2. On the Petition Date, the Debtor filed the Motion to Provide Adequate Assurance
of Payment For Continued Utility Service (the “Utility Motion”)}(Docket No. 4).

3, On April 16, 2019, Dominion filed the Objection.

4, On April 23, 201°, Dominion issued a bill to the Debtor in the amount of
$238,588.48 for the service period of April 11, 2019 to April 22, 2019.

5, On May 6, 2019, the Debtor sent a payment to Dominion in the amount of
$660,000 as an estimated payment for charges from the Petition Date to May 11, 2019, which
Dominion has received.

Stipulation

6. On or before May 20, 2019, the Debtor shall tender to Dominion a payment in the
amount of $700,000 via wire transfer tender as an estimated advance payment for post-petition
charges incurred by the Debtor from Dominion from May 12, 2019 to June 11, 2019.

7, From May 8, 2019 through June 7, 2019, the Debtor represents and agrees that it
shall reduce its usage to 500 kW on peak-hours on Day A Classification days as that term is
defined in the parties Agreement lor Electric Service dated January 17, 2019 and Schedule 10 to
Dominion’s Terms and Conditions (Peak A Days”).

8. If the Debtor fails to tender a payment required by this agreement, Dominion can
terminate service to the Debtor after providing the Debtor and their counsel with written notice of
the payment default and five (5) business days to cure the default (the “Cure Period”). If the
Debtor cures the payment defau!: within the Cure Period, Dominion cannot terminate service for

the payment default. The notices required by this paragraph shall be sent via email to:
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A. Scott R. Clar, Esa.
Jeffrey C. Dan, Esq.
Crane, Simon, Clar & Dan
134 S, LaSalle Street, Suite 3705
Chicago, [iinois 60603
Email: selan@cranesimon.com, jdan(@cranesimon.com

B. A person designated by the Debtor, who shall be identified with contact
information, including email address, in the correspondence returning
an executed version of this letter agreement. If the Debtor fails to
provide the foregoing contact person and information, notices shall be
sufficient 1 sent to Debtor’s counsel.

9. The Debtor represents that all post-petition payments made to Dominion are
authorized pursuant to the terms and conditions governing the Debtors’ use of cash collateral
or any budgets in connection wi'h the foregoing.

10, This Supulation m»y be executed in identical counterparts, any of which may be
transmitted by facsimile or emai!. and each of which shall constitute an original and all of which
taken together shall constitute one and the same Instrument.

lt. This Stipulation may not be amended, supplemented or otherwise altered except
by written agreement of the Parics.

12. The adjourned hesring date and time for the Utility Motion and Objection shall be
June 5, 2019 at 10 a.m. before {>< 'onorable Janet 8. Baer, Bankruptcy Judge, in Courtroom 615

in the United States Bankruptey Court in the Everett McKinley Dirksen Federal Building, 219 S.

Dearborn Street, Chicago, Iine!s.

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Agreed To As To Form And Svstance:

/s/ Russell R Johnson Hi

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__/s/Jeffrey C. Dan

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Debtor ’s Counsel

